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 6                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 7                                  AT TACOMA
 8    UNITED STATES OF AMERICA,
 9                        Plaintiff,                    CASE NO. CR08-5125BHS
10           v.                                         ORDER GRANTING MOTION
11
                                                        TO FILE OVERLENGTH
      HERMINIO BARRAGAN MENDOZA;                        BRIEF
12
      FERNANDO BARRAGAN ZEPEDA;
      JOSE BARRAGAN ZEPEDA;
13
      ALEJANDRO CALDERON FRANCO;
      VERONICA PARDO MARTINEZ; LUIS
14
      ALVAREZ PONCE; EPIFANIO
      BARRAGAN ESTRADA; AMADOR
15
      HEREDIA MENDOZA; ROBERT
      BLANCHARD; ADRIAN PEREZ
16
      GARCIA; SALVADOR PARDO
      MARTINEZ; ULISES BARRAGAN
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      MENDOZA; ROBERTO BARRAGAN
      MENDOZA; TAMMY JEROME;
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      DENNIS STENGEL; FRANCISCO
      MANUEL RUIZ CHAVEZ; OMAR
19
      CARDOZO; MARTIN CHACON
      MARTINEZ; SAMANTHA MASON,
20                        Defendants.
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22         This matter comes before the Court on the Government’s Motion to File

23   Overlength Brief in Response to Motion to Suppress Wiretap Evidence (Dkt. 258). The

24   Government seeks leave of Court to file a 24-page response to Defendant Amador

25   Heredia Mendoza’s motion to suppress (Dkt. 250), which is joined by Defendant Martin

26   Chacon Martinez (Dkt. 260). Local Rule CrR 12 limits responses to 12 pages absent leave

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     ORDER - 1
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 1   of Court. Local Rule CrR 12(c)(6). The Court finds good cause for extending the page

 2   limit for the Government’s response. Therefore, it is hereby

 3         ORDERED that the Government’s Motion to File Overlength Brief in Response

 4   to Motion to Suppress Wiretap Evidence (Dkt. 258) is GRANTED, and Defendants

 5   Amador Heredia Mendoza and Martin Chacon Martinez may file overlength reply briefs

 6   of no more than 12 pages on or before August 8, 2008.

 7         DATED this 5th day of August, 2008.

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13                                                   BENJAMIN H. SETTLE
14                                                   United States District Judge
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     ORDER - 2
